
945 N.E.2d 1 (2011)
PEOPLE State of Illinois, respondent,
v.
Daniel GARCIA-CORDOVA, petitioner.
No. 109042.
Supreme Court of Illinois.
March 30, 2011.
Petition for leave to appeal denied.
In the exercise of this Court's supervisory authority, the Appellate Court, Second District, is directed to vacate its judgment in People v. Garcia-Cordova, 392 Ill. App.3d 468, 332 Ill.Dec. 94, 912 N.E.2d 280 (2009). The appellate court is directed to reconsider its judgment in light of People v. Kitch, 239 Ill.2d 452, 347 Ill.Dec. 655, 942 N.E.2d 1235 (2011), to determine if a different result is warranted.
